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                                  STATEMENT OF FACTS

        Your affiant,                      is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and has been so employed since February 2009. I have been assigned to
the Vernal Resident Agency of the Salt Lake Division of the FBI since August 2021. Prior to
working with the FBI, I was a police officer with the Salt Lake City, Utah Police Department.
Through my employment with the FBI and the Salt Lake City, Utah Police Department, I have
gained knowledge in the use of various investigative techniques, including but not limited to
conducting physical surveillance, conducting interviews, obtaining information through
administrative and grand jury subpoenas, preparing and executing federal search warrants,
preparing reports, and reviewing electronic evidence. As an FBI agent, I am authorized to
investigate violations of federal law and am a “federal law enforcement officer” within the
meaning of Federal Rule of Criminal Procedure 41(a)(2)(C).

       Currently, I am tasked with investigating criminal activity in and around the U.S. Capitol
grounds on January 6, 2021. Since I became involved in this investigation, I have reviewed
public tips, reviewed publicly available photos and video, and reviewed relevant documents,
among other things.

        The facts in this affidavit come from my review of the evidence, my personal
observations, my training and experience, and information obtained from other law enforcement
officers and witnesses. Except as explicitly set forth below, I have not distinguished in this
affidavit between facts of which I have personal knowledge and facts of which I have hearsay
knowledge. This affidavit is intended to show simply that there is sufficient probable cause for
the requested warrant and does not set forth all my knowledge about this matter.

                      Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

      As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.


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Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.

                               Identification of Odin Meacham

        Following the January 6, 2021, attack on the Capitol, your affiant reviewed multiple
videos derived from open-source databases, as well as both footage from body-worn cameras
(“BWC”) of officers with the Metropolitan Police Department (“MPD”) who responded to the
Capitol on January 6, 2021, and closed circuit video (“CCV”) maintained by the United States
Capitol Police (“USCP”). During that review, your affiant observed a subject breaching the west
side of the Capitol building of the U.S. Capitol and committing assaults on USCP and MPD
officers at approximately 2:09 p.m., 2:14 p.m., and 2:16 p.m., as detailed further below. The
subject, later identified as ODIN MEACHAM (“MEACHAM”), is a white male with brown hair.
On January 6, 2021, he was wearing a light green jacket with a fur-lined hood and blue jeans.

       On June 4, 2021, the FBI included MEACHAM, then an unknown male subject, in its
“Seeking Information” list. The FBI posted a “Be on the Lookout” (“BOLO”) for the individual
depicted below (at the time referred to as “400-AFO”):




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       Your affiant compared the BOLO photos of MEACHAM (from January 6, 2021) to
MEACHAM’s 2014 U.S. passport application and to Utah driver’s license photos of
MEACHAM. The individual depicted in the BOLO photos appeared to be the person depicted in
the passport and driver’s license photos.

       On March 13, 2023, law enforcement conducted a voluntary interview with a known
individual (hereinafter “Witness 1”) at the Vernal Resident Agency of the FBI Salt Lake
Division of the FBI. Witness 1 has known MEACHAM for many years. Upon showing Witness
1 the BOLO photos of 400-AFO depicted above, Witness 1 stated that the individual in the
images is ODIN MEACHAM and that Witness 1 was positive the individual in the photos was
MEACHAM. Witness 1 further stated that Witness 1 knew that MEACHAM had traveled back
to Washington, DC around the time of January 6, 2021. 1

                        Odin Meacham’s Conduct on January 6th, 2021

        Based on my review of body-worn camera (“BWC”) footage and publicly available
video, I observed the following:



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  In August 2022, an FBI agent telephonically interviewed another individual (“Individual 1”)
known to have associated with Meacham on at least one occasion. Individual 1 agreed to look at
the photos of an individual at the U.S. Capitol on January 6, 2021, via email and state whether he
knew said individual. Before receiving the photos, Individual 1 asked the FBI Agent if he would
get into trouble if he did not cooperate with the FBI. He was told no. Individual-1 was then
shown five of Meacham’s 400-AFO pictures, including 400-AFO D and 400-AFO F, depicted
above. Individual 1 stated that he did not recall ever seeing the individual in the photos provided.
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        By approximately 2:09 p.m. on the west side of the Capitol building, significant sections
of the police line, largely maintained with metal bike racks, were breaking as the rioters in the
crowd swarmed and overwhelmed the officers. At 2:09 p.m., MEACHAM emerged from the
crowd and attempted to pull a bike rack away from the officers, as depicted in the image below.




        Several seconds later, MEACHAM rushed towards several officers and struck at least
one USCP Officer (“Victim Officer 1”) on the upper body with a large wooden pole, as depicted
by the images below.




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        At approximately 2:14 p.m. on the west side of the Capitol building, MEACHAM picked
up what appears to be and sounded like a black metallic pole from the ground. Approximately
thirty seconds later, MEACHAM threw the black pole at an MPD officer (“Victim Officer 2”),
hitting Victim Officer 2 on his left hand.




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       Several seconds later, MEACHAM pointed and shouted at Victim Officer 2 in what
appears to be a taunting manner.




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       At approximately 2:16 p.m., MEACHAM emerged from the crowd and approached an
MPD officer (“Victim Officer 3”). MEACHAM then shouted, “lean in!” multiple times while
simultaneously signaling towards the crowd with his right hand in an apparent effort to galvanize
the crowd to approach and overwhelm the officers. MEACHAM then grabbed and attempted to
take possession of Victim Officer 3’s baton, as depicted in the images below. MEACHAM was
ultimately unsuccessful in his attempt.




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    Based on the foregoing, your affiant submits there is probable cause to believe
MEACHAM violated:

   (a) 18 U.S.C. §§ 111(a)(1) and 111(b), which make it unlawful to forcibly assault,
       resist, oppose, impede, intimidate, or interfere with any person designated in
       Section 1114 of Title 18 while engaged in or on account of the performance of
       official duties, while using a deadly or dangerous weapon. For purposes of
       Section 111 of Title 18, United States Capitol Police Officers constitute persons
       designated in Section 1114 of Title 18.

   (b) 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit
       any act to obstruct, impede, or interfere with any fireman or law enforcement
       officer lawfully engaged in the lawful performance of his official duties incident
       to and during the commission of a civil disorder which in any way or degree
       obstructs, delays, or adversely affects commerce or the movement of any article
       or commodity in commerce or the conduct or performance of any federally
       protected function. For purposes of Section 231 of Title 18, a federally protected
       function means any function, operation, or action carried out, under the laws of
       the United States, by any department, agency, or instrumentality of the United
       States or by an officer or employee thereof. This includes the Joint Session of
       Congress where the Senate and House count Electoral College votes.

   (c) 18 U.S.C. §§ 1752(a)(1), (2), and (4), and 1752(b)(1)(a),which makes it a crime to
       (1) knowingly enter or remain in any restricted building or grounds without lawful
       authority to do; and (2) knowingly, and with intent to impede or disrupt the

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       orderly conduct of Government business or official functions, engage in
       disorderly or disruptive conduct in, or within such proximity to, any restricted
       building or grounds when, or so that, such conduct, in fact, impedes or disrupts
       the orderly conduct of Government business or official functions; (4) knowingly
       engage in any act of physical violence against any person or property in any
       restricted building or grounds; or attempts or conspires to do so; and punish the
       commission of such acts using or carrying a deadly or dangerous weapon or when
       significant bodily injury is inflicted. For purposes of Section 1752 of Title 18, a
       “restricted building” includes a posted, cordoned off, or otherwise restricted area
       of a building or grounds where the President or other person protected by the
       Secret Service, including the Vice President, is or will be temporarily visiting; or
       any building or grounds so restricted in conjunction with an event designated as a
       special event of national significance.

   (d) 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly
       engage in an act of physical violence in the Grounds or any of the Capitol
       Buildings.



                                                _____________________________________

                                               FEDERAL BUREAU OF INVESTIGATION

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
4.1 by telephone, this 4th day of May, 2023.
                                                      G. Michael Digitally
                                                                     signed by G.
                                                      Harvey         Michael Harvey
                                                    ___________________________________
                                                    HONORABLE G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE




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